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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS

 AHBP LLC,                                          §
                                                    §
              Plaintiff,                            §
                                                    §
 v.                                                 §   CIVIL ACTION NO. 5:22-cv-96
                                                    §
 THE LYND COMPANY,                                  §   JURY TRIAL DEMANDED
 BIO SUPPLIES LLC, AND                              §
 VIA CLEAN TECHNOLOGIES, LLC,                       §
                                                    §
              Defendants.                           §


                                       ORIGINAL COMPLAINT


            Plaintiff AHBP LLC (“Plaintiff”), by its undersigned attorneys, complaining of Defendants

The Lynd Company, Bio Supplies LLC, and Via Clean Technologies LLC (collectively,

“Defendants”), alleges as follows:

                                         NATURE OF ACTION

            1.        As the COVID-19 pandemic ravaged the world in the summer of 2020, Plaintiff

agreed to market and distribute in Argentina a surface disinfectant/cleaner that Defendants

manufactured and claimed would destroy, among other things, the virus that causes COVID-19

(the “Product”).

            2.        Aware that Plaintiff needed to obtain approval from Argentina’s National

Administration of Drugs, Foods and Medical Devices (“ANMAT”) in order to sell the product in

Argentina, Defendants repeatedly assured Plaintiff that the Product was sufficient to meet the

requisite government quality standards. Relying on these representations, Plaintiff agreed to

purchase hundreds of thousands of dollars of the Product to sell and market in Argentina, began




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its marketing campaign and contracting with buyers, and expected Defendants to perform by

delivering the bargained-for Product.

            3.        In reality, Defendants knew their product could not meet ANMAT’s standards. As

part of a sophisticated joint scheme to defraud Plaintiff, Defendants knowingly falsified and altered

laboratory reports that they provided to Plaintiff and ANMAT to make the Product appear

significantly more effective than it actually is and meet ANMAT’s stringent requirements.

            4.        Fortunately, Plaintiff discovered that Defendants’ had falsified the reports and

Plaintiff did not sell the Product, which would have lulled Argentinians into a false sense of

security regarding the COVID-19 virus. Solely due to Defendants’ fraud and other wrongdoing,

Plaintiff was forced to end its media campaign undertakings, could not fulfill its contractual

obligations to its buyers, and lost tens of millions of dollars in out of pocket costs and lost profits.

            5.        Accordingly, Plaintiff brings this action to recover at least $90,426,300 in money

damages, including lost profits and out of pocket expenses, resulting from Defendants’ fraud,

breach of contract, and other misconduct.

                                                  PARTIES

            6.        Plaintiff is a Florida limited liability company, whose sole member is a citizen of

Florida. At all relevant times, Plaintiff maintained a principal place of business in New York, New

York.

            7.        Defendant The Lynd Company, upon information and belief, is a Texas corporation

with a principal place of business at 4499 Pond Hill Road, Shavano Park, Texas.

            8.        Defendant Bio Supplies LLC, upon information and belief, is a Delaware limited

liability company with a principal place of business at 4499 Pond Hill Road, Shavano Park, Texas.

            9.        The Lynd Company and Bio Supplies, upon information and belief, share an office

address, have an overlap in ownership, directors, and officers, including David Lynd, Adam Lynd

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and Matthew Merritt, and personnel, and their owners, directors and employees use The Lynd

Company email addresses to conduct business purportedly on behalf of Bio Supplies. The Lynd

Company’s owners, including David Lynd, Adam Lynd and Matthew Merritt, created Bio Supplies

in May 2020 to use Bio Supplies to operate and conduct The Lynd Company’s cleaning supply

business, but does so with the assets and personnel of The Lynd Company. Upon information and

belief, The Lynd Company does not treat Bio Supplies as an independent profit center, and funds

are commingled between The Lynd Company and Bio Supplies. The Lynd Company and Bio

Supplies, upon information and belief, do not deal with each other at arm’s length, use each other’s

property as if it were their own, and pay and guarantee the debts of each other. In short, The Lynd

Company and Bio Supplies are alter egos and The Lynd Company dominated Bio Supplies with

respect to its transaction and dealings with Plaintiff and used Bio Supplies to create a veneer of

legitimacy to the transaction. The Lynd Company and Bio Supplies LLC are collectively referred

to herein as “Bio Supplies.”

            10.       Defendant Via Clean Technologies LLC (“Via Clean”), upon information and

belief, is a Pennsylvania limited liability company with a principal place of business at 230 S Broad

Street, Suite 1201, Philadelphia, Pennsylvania.

                                      JURISDICTION AND VENUE

            11.       The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because

Plaintiff and Defendants are domiciled in different states, and the amount in controversy exceeds

$75,000.

            12.       Venue is proper pursuant to the parties’ October 2020 agreement that sets venue in

the federal courts located in Bexar County, Texas, and pursuant to 28 U.S.C. § 1391(b)(1).




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                                                   FACTS

A.          Defendants’ Fraudulent Scheme to Induce Plaintiff into Purchasing the Product

            13.       As the COVID-19 pandemic ravaged Argentina in the summer of 2020, Plaintiff

began negotiating with Bio Supplies to market and sell Bioprotect 500 (defined above as the

Product), which they held out as a disinfectant/cleaner manufactured by Via Clean that would

effectively destroy the virus that causes COVID-19.

            14.       During those negotiations, Plaintiff repeatedly advised Bio Supplies that it needed

certain information concerning the Product’s composition, manufacturing and quality controls,

toxicology and purported 2-year shelf life in order to obtain approval from ANMAT to sell the

Product in Argentina. Plaintiff repeatedly advised that receipt of this information was vital to

Plaintiff’s decision to enter into an agreement with Bio Supplies to purchase, sell, and market the

Product.

            15.       Throughout August and September 2020, Bio Supplies represented that it could not

provide the information Plaintiff requested due to confidentiality concerns. Nonetheless, to induce

Plaintiff to enter into an agreement, Bio Supplies repeatedly confirmed to Plaintiff over those two

months that the Product would meet the applicable standards and promised to provide the relevant

information once the parties signed a written contract.

            16.       Unknown to Plaintiff at the time, these representations were false and Bio Supplies

knew they were false.

            17.       Indeed, despite Bio Supplies’ representations, Bio Supplies knew that the Product

would not, and could not, perform as Defendants claimed and could not meet ANMAT’s standards

to allow the Product to be sold in Argentina. Rather, as set forth below, Bio Supplies, at all times,

intended to defraud Plaintiff by providing fraudulent, doctored laboratory reports that grossly and

falsely exaggerated the efficacy of the Product.

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            18.       In reliance on Bio Supplies’ representations concerning the Product and its quality

standards, and with no way to verify them, Plaintiff entered into the Exclusivity and Resale

Agreement with Bio Supplies, dated October 2020 (the “Agreement”).

            19.       Pursuant to the Agreement, Bio Supplies agreed to grant Plaintiff an exclusive

license to sell the Product in Argentina. The Agreement required Plaintiff, within 45 days of

execution, to purchase no less than $100,000 worth of the Product from Bio Supplies and to spend

no less than $350,000 to advertise and market the Product in Argentina, with additional, escalating

Product purchase requirements following thereafter.

B.          Defendants Continue Their Scheme to Defraud Plaintiff

            20.       After entering into the Agreement, Bio Supplies repeatedly promised that it would

soon provide Plaintiff with information purportedly identifying the Product’s composition,

manufacturing and quality controls, and toxicology and supporting its purported 2-year shelf life.

            21.       In reliance on Bio Supplies’ representations, and to fulfill its contractual obligations

under the Agreement, Plaintiff began preparing its media campaign to market and sell the Product,

including by hiring employees and designers, consulting with lawyers, accountants, biologists and

virologists, renting warehouse and office space, and entering into contracts with buyers in

Argentina.

            22.       Finally, on December 1, 2020, Bio Supplies provided Plaintiff with some of the

information that Plaintiff had been requesting since August 2020, notably including numerous

purported reports from laboratories concerning the Product’s efficacy and chemical composition.

Thereafter, following repeated requests from Plaintiff, Bio Supplies caused a purported stability

report (the “Report”) regarding the Product performed by Cambridge Materials Testing




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(“Cambridge”), a Canadian laboratory, to be sent to Plaintiff and ANMAT, which report ANMAT

required to approve the Product for sale in Argentina.

            23.       After reviewing the Report, ANMAT proposed a number of questions to Plaintiff

about the Product, including why the Product’s “DMODA” content was part of the calculation of

the Product’s “TPOA” content.

            24.       Plaintiff requested the information from Bio Supplies necessary to answer

ANMAT’s questions. Bio Supplies failed to respond to Plaintiff.

            25.       To obtain answers, Plaintiff contacted Cambridge directly. Cambridge advised

Plaintiff that the Report that had been sent to Plaintiff and ANMAT was “not the same as what we

had originally issued. For instance, the product identification is different and the TPOA values in

the Table on page 3 have been altered … Please note, if you perform the equation with the numbers

in the altered report, the TPOA will not yield the values shown in the Table on page 3.” (emphasis

added).

            26.       Plaintiff immediately demanded answers from Bio Supplies and its agents

regarding the altered Report that Bio Supplies provided to ANMAT.

            27.       To further conceal its scheme, Bio Supplies initially denied altering the Report.

            28.       Then, on March 5, 2021, Bio Supplies finally admitted that it and Via Clean had,

in fact, provided ANMAT with a version of the Report that had been “modified from the original.”

            29.       In other words, Defendants admitted that they fraudulently provided Argentina’s

version of the FDA with a falsified document on Plaintiff’s behalf and in support of its application

to sell the Product in Argentina.

            30.       Bio Supplies and Via Clean’s admission, however, severely underplayed their

fraud. Indeed, after Plaintiff finally received an original version of the Report from Cambridge, a



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comparison of the version that Bio Supplies sent to ANMAT and Plaintiff with the original

revealed that the product on which the Report was actually based was not the Product at all, but

rather a different product containing a whopping 72% of the Product’s active ingredient, whereas

the Product contains a mere 5% of that ingredient. Not only would a product containing a super

concentrated amount of the active ingredient be expected to significantly outperform the Product,

but it would also have a much longer shelf life than the diluted Product.

            31.       As such, the Report that Bio Supplies sent to ANMAT did not represent the

properties of the Product at all and parts of the Product information provided by Defendants were

false and misleading.

            32.       Indeed, Defendants’ fraudulent misrepresentations became crystal clear when, on

March 31, 2021, the United States Environmental Protection Agency issued a Stop Sale, Use or

Removal Order to Via Clean ordering Via Clean to stop marketing the Product with claims that it

is effective against public health related pathogens such as the virus that causes COVID-19.

            33.       As a result of Defendants’ fraudulent scheme, breaches and other misconduct,

Plaintiff was unable to sell the Product in Argentina – the only place in the world that Plaintiff has

a license to sell the Product. Plaintiff’s buyers refused to continue doing business with Plaintiff

because Plaintiff could not fulfill its obligations to deliver the Product, its business reputation was

severely diminished, and its pursuit of the media campaign was rendered a total loss.

            34.       As such, Defendants have damaged Plaintiff in the amount of no less than

$90,426,300, including $89,600,000 in lost profits and $826,300 in out of pocket expenses.

                                         FIRST CAUSE OF ACTION

            (Fraudulent Inducement Against The Lynd Company and Bio Supplies LLC)

            35.       Plaintiff repeats, reiterates, and re-alleges each and every allegation as contained in

the above paragraphs with the same force and effect as if fully set forth herein.

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            36.       As set forth above, The Lynd Company and Bio Supplies LLC fraudulently induced

Plaintiff to enter into the Agreement by making materially false and misleading representations,

and omitting material information peculiarly within Defendants’ knowledge.

            37.       As set forth above, prior to entering into the Agreement, The Lynd Company and

Bio Supplies LLC knew that the Product would not perform pursuant to their representations and

would not satisfy ANMAT’s requirements.

            38.       As set forth above, The Lynd Company and Bio Supplies LLC had actual

knowledge of the materially false and misleading representations and omissions in their

communications with Plaintiff; or, in the alternative, The Lynd Company and Bio Supplies LLC

had a reckless disregard of the materially false and misleading representations and omissions

contained therein.

            39.       As set forth above, The Lynd Company and Bio Supplies LLC were aware that

Plaintiff would rely upon Defendants’ representations in determining to enter into the Agreement.

            40.       As set forth above, Plaintiff relied on The Lynd Company and Bio Supplies LLC’s

misrepresentations in deciding to execute the Agreement.

            41.       Plaintiff was unaware of, and could not have discovered through the exercise of

reasonable diligence, The Lynd Company and Bio Supplies LLC’s materially false and misleading

representations and omissions.

            42.       As set forth above, The Lynd Company and Bio Supplies LLC are alter egos.

            43.       As a direct and proximate result of The Lynd Company and Bio Supplies LLC’s

fraud, Plaintiff has been damaged in an amount to be determined at trial, but in no event less than

$826,300, plus costs, interest, expenses and attorneys’ fees in amounts to be determined at trial.




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                                       SECOND CAUSE OF ACTION
                                        (Fraud Against Defendants)

            44.       Plaintiff repeats, reiterates, and re-alleges each and every allegation as contained in

the above paragraphs with the same force and effect as if fully set forth herein.

            45.       As set forth above, Defendants made materially false and misleading

representations and omissions to Plaintiff, including providing the fraudulent, falsified and altered

Report to Plaintiff and ANMAT.

            46.       As set forth above, Defendants had actual knowledge of the materially false and

misleading representations and omissions in their communications with Plaintiff; or, in the

alternative, Defendants had a reckless disregard of the materially false and misleading

representations and omissions contained therein.

            47.       As set forth above, Defendants intended to induce Plaintiff to act upon their

materially false and misleading representations and omissions.

            48.       Plaintiff justifiably relied on Defendants’ false and misleading misrepresentations

in, among other things, deciding to execute the Agreement, applying to ANMAT for approval of

the Product, preparing a media campaign, expending funds, and contracting with buyers.

            49.       As set forth above, The Lynd Company and Bio Supplies LLC are alter egos.

            50.       As a direct and proximate result of Defendants’ fraud, Plaintiff has been damaged

in an amount to be determined at trial, but in no event less than $90,426,300, plus costs, interest,

expenses and attorneys’ fees in amounts to be determined at trial.

                                       THIRD CAUSE OF ACTION
                             (Negligent Misrepresentation Against Defendants)

            51.       Plaintiff repeats, reiterates, and re-alleges each and every allegation as contained in

the above paragraphs with the same force and effect as if fully set forth herein.



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            52.       As set forth above, Defendants made false and misleading representations to

Plaintiff while acting in the ordinary course of their business, or in a transaction in which

Defendants had a pecuniary interest.

            53.       As set forth above, Defendants conveyed false and misleading information to guide

Plaintiff in Plaintiff’s own business.

            54.       As set forth above, Defendants did not exercise reasonable care or competence in

obtaining or communicating the false and misleading information.

            55.       As set forth above, Plaintiff justifiably relied on Defendants’ false and misleading

misrepresentations in, among other things, deciding to execute the Agreement, applying to

ANMAT for approval of the Product, preparing a media campaign, and contracting with buyers.

            56.       As set forth above, The Lynd Company and Bio Supplies LLC are alter egos.

            57.       As a direct and proximate result of Defendants’ fraud, Plaintiff has been damaged

in an amount to be determined at trial, but in no event less than $90,426,300, plus costs, interest,

expenses and attorneys’ fees in amounts to be determined at trial.

                                      FOURTH CAUSE OF ACTION
                           (Violation of Lanham Act § 43(a) Against Defendants)

            58.       Plaintiff repeats, reiterates, and re-alleges each and every allegation as contained in

the above paragraphs with the same force and effect as if fully set forth herein.

            59.       As set forth above, Defendants made false and misleading representations and

omissions as to the Product, which affects interstate commerce.

            60.       As set forth above, Defendants’ false and misleading representations and omissions

actually deceived, or in the alternative had a tendency to deceive, a substantial portion of their

intended audience.




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            61.       As set forth above, Defendants’ deception is material in that it is likely to influence

purchasing decisions.

            62.       As a result of, Plaintiff was likely to be, and in fact was, injured by Defendants’

material deception using false and misleading representations and omissions as to the Product.

            63.       As set forth above, The Lynd Company and Bio Supplies LLC are alter egos.

            64.       As a direct and proximate result of Defendants’ false advertising, Plaintiff has been

damaged in an amount to be determined at trial, but in no event less than $90,426,300, plus costs,

interest, expenses and attorneys’ fees in amounts to be determined at trial.

                                       FIFTH CAUSE OF ACTION
                                 (Trade Disparagement Against Defendants)

            65.       Plaintiff repeats, reiterates, and re-alleges each and every allegation as contained in

the above paragraphs with the same force and effect as if fully set forth herein.

            66.       As set forth above, Defendants published false and disparaging information about

Plaintiff by providing ANMAT with the falsified Report on Plaintiff’s behalf.

            67.       As set forth above, Defendants acted with ill will or intended to interfere in the

economic interest of Plaintiff when publishing the false and disparaging information in the Report,

or in the alternative, Defendants knew they were making a false statement or acted with reckless

disregard of the materially false information contained therein.

            68.       As set forth above, Defendants acted without privilege when publishing the false

and disparaging information in the Report on Plaintiff’s behalf.

            69.       As set forth above, The Lynd Company and Bio Supplies LLC are alter egos.

            70.       As a direct and proximate result of Defendants’ trade disparagement, Plaintiff

suffered special damages, including damage to Plaintiff’s reputation, loss of trade or other dealings

with buyers of the Product and/or loss of trade or other dealings in Argentina, and lost profits, in


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an amount to be determined at trial, but in no event less than $90,426,300, plus costs, interest,

expenses and attorneys’ fees in amounts to be determined at trial.

                                     SIXTH CAUSE OF ACTION
                (Breach of Contract Against The Lynd Company and Bio Supplies LLC)

            71.       Plaintiff repeats, reiterates, and re-alleges each and every allegation as contained in

the above paragraphs with the same force and effect as if fully set forth herein.

            72.       As set forth above, Plaintiff and Bio Supplies entered into a valid and binding

contract.

            73.       As set forth above, Plaintiff fully performed under the parties’ contract.

            74.       As set forth above, Bio Supplies breached the parties’ contract.

            75.       As set forth above, The Lynd Company and Bio Supplies LLC are alter egos.

            76.       As a direct and proximate result of The Lynd Company and Bio Supplies LLC’s

breach of the Agreement, Plaintiff has been damaged in an amount to be determined at trial, but in

no event less than $90,426,300, plus costs, interest, expenses and attorneys’ fees in amounts to be

determined at trial.

                                               JURY DEMAND

            Plaintiff demands a trial by jury.

                                           PRAYER FOR RELIEF

WHEREFORE, Plaintiff hereby requests that the Court grant the following relief:

            a. Judgment in Plaintiff’s favor and against Defendants, jointly and severally, in an
               amount to be determined at trial, but in no event less than $90,426,300, plus pre-
               judgment interest;

            b. Plaintiff’s costs and disbursements incurred in this suit;

            c. Plaintiff’s attorneys’ fees to the full extent permitted by law; and

            d. Any such other and further relief as the Court may deem just and proper.



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Dated: February 3, 2022.                   Respectfully submitted,

                                           GORDON & REES

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